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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
RAINMAKERS PARTNERS, LLC

                                                                  PROTECTIVE ORDER
                                            Plaintiff,
                 - against -
                                                                  21-CV-6800 (ER)(DF)
NEWSPRING CAPITAL, LLC
NEWSPRING HOLDINGS, LLC and
NSHIII MANAGEMENT COMPANY, LLC
                                              Defendants.
 -------------------------------------------------------------x

EDGARDO RAMOS, United States District Judge:

        WHEREAS all of the parties to this action (collectively the “Parties” and individually a
“Party”) request that this Court issue a protective order pursuant to Federal Rule of Civil
Procedure 26(c) to protect the confidentiality of certain nonpublic and confidential material that
will be exchanged pursuant to and during the course of discovery in this case;
          WHEREAS, the Parties, through counsel, agree to the following terms;
        WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
extends to the limited information or items that are entitled, under the applicable legal principles,
to confidential treatment;
        WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and
        WHEREAS, in light of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing person and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored
confidentiality order governing the pretrial phase of this action;
         IT IS HEREBY ORDERED that any person subject to this Protective Order—including
without limitation the parties to this action, their representatives, agents, experts and consultants,
all third parties providing discovery in this action, and all other interested persons with actual or
constructive notice of this Protective Order—shall adhere to the following terms:
         1.      Any person subject to this Protective Order who receives from any other person
 subject to this Protective Order any “Discovery Material” (i.e., information of any kind produced
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or disclosed pursuant to and in course of discovery in this action) that is designated as
“Confidential” pursuant to the terms of this Protective Order (hereinafter “Confidential
Discovery Material”) shall not disclose such Confidential Discovery Material to anyone else
except as expressly permitted hereunder.
       2.      The person producing any given Discovery Material may designate as
Confidential only such portion of such material the public disclosure of which is either restricted
by law or will cause harm to the business, commercial, financial or personal interests of the
producing person and/or a third party to whom a duty of confidentiality is used and that consists
of:
                              (a)     previously nondisclosed financial information (including
               without limitation profitability reports or estimates, percentage fees, design fees,
               royalty rates, minimum guarantee payments, sales reports, and sale margins);

                              (b)    previously nondisclosed material relating to ownership or
               control of any non-public company;

                            (c)     previously nondisclosed business plans, product
               development information, or marketing plans;

                             (d)      any information of a personal or intimate nature regarding
               any individual; or
                              (e)      any other category of information hereinafter given
               confidential status by the Court.
        3.     With respect to the Confidential portion of any Discovery Material other than
deposition transcripts and exhibits, the producing person or that person’s counsel may designate
such portion as “Confidential” by: (a) stamping or otherwise clearly marking as “Confidential”
the protected portion in a manner that will not interfere with legibility or audibility; and (b)
producing for future public use another copy of said Discovery Material with the confidential
information redacted.
        4.      With respect to deposition transcripts, a producing person or that person’s counsel
may designate such portion as Confidential either by (a) indicating on the record during the
deposition that a question calls for Confidential information, in which case the reporter will bind
the transcript of the designated testimony (consisting of question and answer) in a separate
volume and mark it as “Confidential Information Governed by Protective Order”; or (b)
notifying the reporter and all counsel of record, in writing, within 30 days after a deposition has
concluded, of the specific pages and lines of the transcript and/or the specific exhibits that are to
be designated Confidential, in which case all counsel receiving the transcript will be responsible
for marking the copies of the designated transcript or exhibit (as the case may be), in their
possession or under their control as directed by the producing person or that person’s counsel by
the reporter. During the 30-day period following the conclusion of a deposition, the entire
deposition transcript will be treated as if it had been designated Confidential.



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        5.      If at any time prior to the trial of this action, a producing person realizes that some
portion(s) of Discovery Material that she, he, or it had previously produced without limitation
should be designated as Confidential, she, he, or it may so designate by so apprising all prior
recipients of the Discovery Material in writing, and thereafter such designated portion(s) of the
Discovery Material will thereafter be deemed to be and treated as Confidential under the terms of
this Protective Order.
       6.      No person subject to this Protective Order other than the producing person shall
disclose any of the Discovery Material designated by the producing person as Confidential to any
other person whomsoever, except to:
                               (a)     the Parties to this action, their insurers, and counsel to their
               insurers;
                               (b)     counsel retained specifically for this action, including any
               paralegal, clerical and other assistant employed by such counsel and assigned to
               this matter;

                               (c)    outside vendors or service providers (such as copy-service
               providers and document-management consultants, graphic production services or
               other litigation support services) that counsel hire and assign to this matter,
               including computer service personnel performing duties in relation to a
               computerized litigation system;

                               (d)    any mediator or arbitrator that the Parties engage in this
               matter or that this Court appoints, provided such person has first executed a Non-
               Disclosure Agreement in the form annexed as an Exhibit hereto;
                             (e)     as to any document, its author, its addressee, and any other
               person indicated on the face of the document as having received a copy;

                              (f)     any witness who counsel for a Party in good faith believes
               may be called to testify at trial or deposition in this action, provided such person
               has first executed a Non-Disclosure Agreement in the form annexed as an Exhibit
               hereto;
                              (g)     any person retained by a Party to serve as an expert witness
               or otherwise provide specialized advice to counsel in connection with this action,
               provided such person has first executed a Non-Disclosure Agreement in the form
               annexed as an Exhibit hereto;

                               (h)     stenographers engaged to transcribe depositions conducted
               in this action; and
                            (g) this Court, including any appellate court, and the court reporters
               and support personnel for the same.




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         7.     Prior to any disclosure of any Confidential Discovery Material to any person
referred to in subparagraphs 6(d), 6(f) or 6(g) above, such person shall be provided by counsel
with a copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto stating that that person has read this Protective Order and agrees to
be bound by its terms. Said counsel shall retain each signed Non-Disclosure Agreement, hold it
in escrow, and produce it to opposing counsel either prior to such person being permitted to
testify (at deposition or trial) or at the conclusion of the case, whichever comes first.
         8.       Any Party who objects to any designation of confidentiality may at any time prior
to the trial of this action serve upon counsel for the designating person a written notice stating
with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,
counsel for all Parties will address their dispute to this Court.
        9.      Any Party who requests additional limits on disclosure (such as “attorneys’ eyes
only” in extraordinary circumstances) may at any time prior to the trial of this action serve upon
counsel for the receiving Party a written notice stating with particularity the grounds for the
request. If the Parties cannot reach agreement promptly, counsel for all Parties will address their
dispute to this Court.
        10.     A Party may be requested to produce Discovery Material that is subject to
contractual or other obligations of confidentiality owed to a third party. Within two business
days of receiving the request, the receiving Party subject to such obligation shall inform the third
party of the request and that the third party may seek a protective order or other relief from this
Court. If neither the third party nor the receiving Party seeks a protective order or other relief
from this Court within 21 days of that notice, the receiving Party shall produce the information
responsive to the discovery request but may affix the appropriate controlling designation.
         11.     Recipients of Confidential Discovery Material under this Protective Order may
use such material solely for the prosecution and defense of this action and any appeals thereto,
and specifically (and by way of example and not limitations) may not use Confidential Discovery
Material for any business, commercial, or competitive purpose. However, to the extent that the
Discovery Material overlaps with information or relationships existing prior to or independent of
this Agreement, no such restriction will be placed on the party possessing said relationship or
information and the use thereof. Nothing contained in this Protective Order, however, will affect
or restrict the rights of any person with respect to its own documents or information produced in
this action. Nor does anything contained in this Protective Order limit or restrict the rights of
any person to use or disclose information or material obtained independently from and not
through or pursuant to the Federal Rules of Civil Procedure.
        12.     Nothing in this Protective Order will prevent any person subject to it from
producing any Confidential Discovery Material in its possession in response to a lawful
subpoena or other compulsory process, or if required to produce by law or by any government
agency having jurisdiction, provided, however, that such person receiving a request, will provide
written notice to the producing person before disclosure and as soon as reasonably possible, and,
if permitted by the time allowed under the request, at least 10 days before any disclosure. Upon
receiving such notice, the producing person will have the right to oppose compliance with the



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subpoena, other compulsory process, or other legal notice if the producing person deems it
appropriate to do so.
        13.     No person may file with the Court redacted documents or documents under seal
without first seeking leave to file such papers. All persons producing Confidential Discovery
Material are deemed to be on notice that the Second Circuit puts limitations on the documents or
information that may be filed in redacted form or under seal and that the Court retains discretion
not to afford confidential treatment to any Confidential Discovery Material submitted to the
Court or presented in connection with any motion, application or proceeding that may result in
an order and/or decision by the Court unless it is able to make the specific findings required by
law in order to retain the confidential nature of such material. Notwithstanding its designation,
there is no presumption that Confidential Discovery Material will be filed with the Court under
seal. The Parties will use their best efforts to minimize such sealing.
        14.      Any Party filing a motion or any other papers with the Court under seal shall also
publicly file a redacted copy of the same, via the Court’s Electronic Case Filing system, that
redacts only the Confidential Discovery Material itself, and not text that in no material way
reveals the Confidential Discovery Material.
       15.     Each person who has access to Discovery Material that has been designated as
Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure
of such material.
        16.    Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the persons who receive such information and are
bound by this Protective Order in a manner that is secure and confidential. In the event that the
person receiving PII experiences a data breach, she, he, or it shall immediately notify the
producing person of the same and cooperate with the producing person to address and remedy
the breach. Nothing herein shall preclude the producing person from asserting legal claims or
constitute a waiver of legal rights or defenses in the event of litigation arising out of the
receiving person’s failure to appropriately protect PII from unauthorized disclosure.
        17.     This Protective Order shall survive the termination of the litigation. Within 30
days of the final disposition of this action, all Discovery Material designated as “Confidential,”
and all copies thereof, shall be promptly returned to the producing person, or, upon permission of
the producing person, destroyed.
        18.      All persons subject to this Protective Order acknowledge that willful violation of
this Protective Order could subject them to punishment for contempt of Court. This Court shall
retain jurisdiction over all persons subject to this Protective Order to the extent necessary to
enforce any obligations arising hereunder or to impose sanctions for any contempt thereof.


SO STIPULATED AND AGREED




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By:_________________________________
      /s/ Reeves Carter
Reeves Carter
Of Counsel
Sergei Orel, LLC
2125 Center Avenue, Suite 608
Fort Lee, NY 07024
110 Wall Street, 11th Floor

Attorneys for Plaintiff
RainMakers Partners, LLC

Dated: ___________________________
        November 2, 2021




By: _____________________________
Paul K. Leary, Jr.
Cozen O’Connor
One Liberty Place
1650 Market Street, Suite 2800
Philadelphia, PA 19130

Attorneys for Defendants
NewSpring Capital, LLC,
NewSpring Holdings, LLC,
and NSHIII Management Company, LLC


Dated: November 1, 2021


SO ORDERED


Dated: November 2, 2021                    __________________________________
       New York, New York                           EDGARDO RAMOS
                                                 United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
RAINMAKERS PARTNERS, LLC

                                                                    NON-DISCLOSURE
                                            Plaintiff,              AGREEMENT
                 - against -
                                                                    21-CV-6800 (ER)(DF)
NEWSPRING CAPITAL, LLC
NEWSPRING HOLDINGS, LLC and
NSHIII MANAGEMENT COMPANY, LLC
                                              Defendants.
 -------------------------------------------------------------x

EDGARDO RAMOS, United States District Judge:

        I, _____________________________, acknowledge that I have read and understand the
Protective Order in this action governing the non-disclosure of those portions of Discovery
Material that have been designated as Confidential. I agree that I will not disclose such
Confidential Discovery Material to anyone other than for purposes of this litigation and that at
the conclusion of the litigation I will either return all discovery information to the party or
attorney from whom I received it, or upon permission of the producing party, destroy such
discovery information. By acknowledging these obligations under the Protective Order, I
understand that I am submitting myself to the jurisdiction of the United States District Court for
the Southern District of New York for the purpose of any issue or dispute arising hereunder and
that my willful violation of any term of the Protective Order could subject me to punishment for
contempt of Court.




Dated: ______________                                        _____________________________________
